                       Case 3:23-cv-00201-WHO Document 136-1 Filed 12/20/23 Page 1 of 2


                   1   LATHAM & WATKINS LLP
                       Andrew M. Gass (SBN 259694)
                   2    andrew.gass@lw.com
                       Michael H. Rubin (SBN 214636)
                   3    michael.rubin@lw.com
                       Brittany N. Lovejoy (SBN 286813)
                   4    brittany.lovejoy@lw.com
                       505 Montgomery Street, Suite 2000
                   5   San Francisco, California 94111-6538
                       Telephone: 415.391.0600
                   6
                       Attorneys for Defendant DeviantArt, Inc.
                   7

                   8                              UNITED STATES DISTRICT COURT
                   9                           NORTHERN DISTRICT OF CALIFORNIA
               10                                      SAN FRANCISCO DIVISION
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               12      SARAH ANDERSEN, et al.,                           CASE NO. 3:23-cv-00201-WHO

               13            Individual and Representative Plaintiffs,   [PROPOSED] ORDER GRANTING
                                                                         DEFENDANT DEVIANTART, INC.’S
               14            v.                                          MOTION TO RENEW ITS SPECIAL
                                                                         MOTION TO STRIKE UNDER
               15      STABILITY AI LTD., et al.,                        CALIFORNIA CODE OF CIVIL
                                                                         PROCEDURE § 425.16
               16            Defendants.

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                                                                                     [PROPOSED] ORDER GRANTING
ATTORNEYS AT LAW
 SAN FRANCISCO                                                                        RENEWED MOTION TO STRIKE
                                                                                            NO. 3:23-cv-00201-WHO
                       Case 3:23-cv-00201-WHO Document 136-1 Filed 12/20/23 Page 2 of 2


                   1          DeviantArt, Inc.’s Special Motion to Strike Counts IV and V of Plaintiffs’ initial Class

                   2   Action Complaint Under Cal. Civ. Proc. Code § 425.16 came before this Court for hearing on

                   3   January 24, 2024. All parties were represented by counsel as noted on the record.

                   4          Having considered the briefs, supporting documents, and arguments of the parties, and

                   5   finding good cause therefore, IT IS HEREBY ORDERED that, for the reasons stated in

                   6   Defendant’s Memorandum of Points and Authorities filed in support of this Motion, the Motion

                   7   to Strike is GRANTED in full.

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               10      IT IS SO ORDERED.

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               12      DATED: ________________                            _________________________
                                                                          William H. Orrick
               13                                                         United States District Judge
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                                                                                             [PROPOSED] ORDER GRANTING
ATTORNEYS AT LAW
 SAN FRANCISCO                                                        1                       RENEWED MOTION TO STRIKE
                                                                                                    NO. 3:23-cv-00201-WHO
